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             IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          (DALLAS DIVISION)
IN RE:                         §
                               §     CHAPTERll
NATIONAL RIFLE ASSOCIATION     §
OF AMERICA and SEA GIRT LLC,   §     CASE NO. 21-30085-hdh-11
                               §
         DEBTORS. 1            §     JOINTLY ADMINISTERED
__________ §



    DECLARATION OF SONYA ROWLING WITH RESPECT TO MMP'S MOTION FOR
     AN ORDER REQUIRING THE UNITED STATES TRUSTEE TO RECONSTITUTE
        THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS !Dkt. 164]

         1.      I, Sonya Rowling submit this declaration relevant to MMP's Motion for an Order

Requiring the United States Trustee to Reconstitute the Official Committee of Unsecured Creditors

[Dkt 164] (the "Motion") filed in the above referenced case.

         2.      I am the current Interim CFO of the National Rifle Association of America (the

"Company"). I am familiar with the matters set forth herein, and unless otherwise noted, I have

personal knowledge of the matters set forth herein. If called upon to testify, I would testify as

follows:

                                                TESTIMONY

         3.      On January 15, 2021 the Company filed its Voluntary Petition with this Court. I

have reviewed the Official Form 204 (20 Largest Unsecured Creditors list) filed by the Company

on that same date, a copy of which is attached as Exhibit D to that Motion.                 All of the creditors

listed on that 20 Largest Unsecured Creditors are vendors with claims against the Company.




1
 The last four digits of the Debtors' taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors' mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.

DECLARATION OF SONYA ROWLING
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        4.     The claim of Ackerman McQueen, Inc., is a disputed claim, but Ackerman

McQueen, Inc. is on the Official Committee of Unsecured Creditors (the "OCC"). There are at

least 1 7 undisputed vendor claimants on that list, only two of which are members of the OCC in

this case.

        5.     The Pension Benefit Guaranty Corporation (the "PBGC") is on the OCC, but the

Company does not have any terminated plans that are guaranteed by the PBGC. The Company

does not dispute that it is possible the PBGC has a contingent claim against the Company.




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DECLARATION OF SONYA ROWLING                                                                  2
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       Pursuant to 28 U.S.C. § 1746, I, Sonya Rowling, declare under penalty of perjury that the

foregoing is true and accurate to the best of my knowledge and belief.


Dated: February cQ,3, 2021




DECLARATION OF SONYA ROWLING                                                                  3
